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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

FIRST CHOICE FEDERAL CREDIT                      )
UNION, CREDIT UNION NATIONAL                     )
ASSOCIATION, MICHIGAN CREDIT                     )   Civil Action No. 16-506
UNION LEAGUE, WRIGHT-PATT CREDIT                 )   Judge Nora Barry Fischer/
UNION, ENVISTA CREDIT UNION,                     )   Chief Magistrate Judge Maureen P. Kelly
GREENVILLE HERITAGE FEDERAL                      )
CREDIT UNION, FINANCIAL HORIZONS                 )
CREDIT UNION, INDIANA CREDIT                     )
UNION LEAGUE, GEORGIA CREDIT                     )
UNION AFFILIATES, FEDERAL DEPOSIT                )
INSURANCE CORPORATION, Receiver for              )
First NBC Bank, GREATER CINCINNATI               )
CREDIT UNION, ALIGN CREDIT UNION,                )
CENTRUE BANK, NUSENDA CREDIT                     )
UNION, NORTH JERSEY FEDERAL                      )
CREDIT UNION, ALCOA COMMUNITY                    )   Re: ECF No. 131
FEDERAL CREDIT UNION, OHIO CREDIT                )
UNION LEAGUE, KEMBA FINANCIAL                    )
CREDIT UNION, THE SEYMOUR BANK,                  )
ASSOCIATED CREDIT UNION,                         )
NAVIGATOR CREDIT UNION, and                      )
MEMBERS CHOICE CREDIT UNION,                     )
             Plaintiffs,                         )
                                                 )
VERIDIAN CREDIT UNION on behalf of               )
itself and all others similarly situated, TECH   )
CREDIT UNION on behalf of itself and all         )
others similarly situated, SOUTH FLORIDA         )
EDUCATIONAL FEDERAL CREDIT                       )
UNION, PREFERRED CREDIT UNION on                 )
behalf of themselves and all others similarly    )
situated, and AOD FEDERAL CREDIT                 )
UNION on behalf of itself and all others         )
similarly situated,                              )
                  Consolidated Plaintiffs,       )
                                                 )
                      v.                         )
                                                 )
THE WENDY’S COMPANY, WENDY’S                     )
RESTAURANTS, LLC, and WENDY’S                    )
INTERNATIONAL, LLC,                              )
                                                 )
               Consolidated Defendants.
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                                          ORDER

       AND NOW, this 6th day of June, 2018, after FI Plaintiffs filed a Motion for Application

of Ohio Law, ECF No. 131, and after a Report and Recommendation was filed by the Chief

United States Magistrate Judge, ECF No. 147, and no Objections having been filed thereto, and

upon independent review of the record, and upon consideration of the Magistrate Judge’s Report

and Recommendation, which is adopted as the opinion of this Court,

       IT IS HEREBY ORDERED that FI Plaintiffs’ Motion for Application of Ohio Law, ECF

No. 131, is GRANTED as to the claims for negligence (Count I) and negligence per se (Count II)

and DENIED as to the claim filed pursuant to the ODPTA (Count III) insofar as it is brought by

FI Plaintiffs not located in Ohio.

                                              By the Court:


                                              /s/ Nora Barry Fisher
                                              United States District Judge


cc:    Honorable Maureen P. Kelly
       Chief United States Magistrate Judge

       All Counsel of Record Via CM-ECF




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